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Attorneys for Plaintiff Bryon Jackson

                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )             Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )             NOTICE OF WITHDRAWAL
                                          )             OF VIRGINIA G. KAIN
v.                                        )
                                          )             Judge:     Hon. Laurel Beeler
TARGET CORPORATION,                       )
                                          )
   Defendant.                             )
_________________________________________ )


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that under Civil L.R. 5-1(c)(2)(C), Virginia G. Kain hereby withdraws

as attorney for plaintiff Bryon Jackson, as she is no longer an associate at Warren Kash Warren LLP.

Warren Kash Warren LLP will continue to represent Bryon Jackson in this matter.

Date: January 18, 2024                           Respectfully submitted,


                                                 _______________________________________
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